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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


                                                        Case No. 6:20-cv-00473-ADA
WSOU INVESTMENTS, LLC d/b/a BRAZOS                      Case No. 6:20-cv-00474-ADA
LICENSING AND DEVELOPMENT,                              Case No. 6:20-cv-00475-ADA
                                                        Case No. 6:20-cv-00476-ADA
               Plaintiff,                               Case No. 6:20-cv-00477-ADA
                                                        Case No. 6:20-cv-00478-ADA
       v.                                               Case No. 6:20-cv-00479-ADA
                                                        Case No. 6:20-cv-00480-ADA
DELL TECHNOLOGIES INC., DELL INC.,
                                                        Case No. 6:20-cv-00481-ADA
EMC CORPORATION, AND VMWARE,
                                                        Case No. 6:20-cv-00482-ADA
INC.,
                                                        Case No. 6:20-cv-00485-ADA
               Defendants.                              Case No. 6:20-cv-00486-ADA


                                                        JURY TRIAL DEMANDED


                   JOINT NOTICE TO AMEND SCHEDULING ORDER

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“WSOU”)

and Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

(collectively, “Defendants”), (collectively, the “Parties”), pursuant to the Court’s Standing Order

Regarding Joint or Unopposed Request to Change Deadlines, hereby respectfully provide this Joint

Notice to memorialize their agreement to extend case deadlines. The Parties have agreed to adjust

the Scheduling Order to afford the Parties more time to streamline the cases, to reduce the number

of claims and prior art references currently at issue, to provide the parties more time to resolve

outstanding discovery disputes, and to provide additional time to complete depositions and further

prepare for trial and expert discovery. The Parties have jointly agreed to modify the schedule as

follows:




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                   Event                          Original Deadline                New Deadline
Deadline to serve ROGs, RFPs, and RFAs.           November 10, 2021         The Parties agree that the
                                                                            deadline to serve ROGs,
                                                                            RFPs, and RFAs has
                                                                            passed, and that no new
                                                                            ROGs, RFPs, or RFAs
                                                                            (other than potentially
                                                                            RFAs for authentication,
                                                                            to be discussed among the
                                                                            parties) may be served.
                                                                            This does not prevent
                                                                            either party from seeking
                                                                            relief from the Court on
                                                                            discovery already served.


Deadline to add patents.                      Not specifically addressed    The Parties agree that no
                                              in prior scheduling order     new patents may be added
                                                                            to any of the pending
                                                                            cases.
Deadline for Defendants to provide access to Not specifically addressed         December 1, 2021
source code in Austin, Texas.                  in prior scheduling order
Deadline for Parties to serve all subpoenas or Not specifically addressed       December 2, 2021
deposition notices by December 2, 2021 at 5 in prior scheduling order
pm CT, after which, Parties agree to serve no
new subpoenas or deposition notices unless
otherwise mutually agreed.

If, after this deadline, a Party updates or
supplements its disclosures to add or change
witnesses, or if in good faith an identification
of a new witness arises in the context of a
deposition, a Party may serve a subpoena or
deposition notice for that new witness.
Deadline for Defendants to update or Not specifically addressed                 December 3, 2021
supplement         disclosures      identifying in prior scheduling order
witnesses with knowledge of financial
information and technical information for
each accused product.
Deadline to submit any remaining disputes Not specifically addressed            December 3, 2021
from the first meet and confer regarding in prior scheduling order
narrowing the number of specific claims           (deadline to hold first
asserted and specific prior art references to      meet and confer was
be asserted.                                        October 29, 2021)

Unless the parties agree on the narrowing,

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                   Event                       Original Deadline                  New Deadline
they are ordered to contact the Court’s Law
Clerk to arrange a teleconference with the
Court to resolve the disputed issues.
Deadline for WSOU to dismiss with Not specifically addressed                     January 15, 2022
prejudice three cases. Dismissals will be in prior scheduling order
with each side to bear its own costs and fees.

As noted below, of the at least six cases
WSOU dismisses by the close of fact
discovery (at least three by January 15, 2021
and at least three by May 6, 2022), at least
one case dismissed must be against
VMware/Dell/EMC (i.e., case nos. 6:20-cv-
480; 6:20-cv-481; 6:20-cv-485; 6:20-cv-
486) and at least two cases dismissed must
be against Dell/EMC (i.e., Case Nos. 6:20-
cv-473; 6:20-cv-474; 6:20-cv-475; 6:20-cv-
476; 6:20-cv-477; 6:20-cv-478; 6:20-cv-
479; 6:20-cv-482).
Deadline to begin the process in the OGP        Not specifically addressed         April 1, 2022
(pages 2 and 3) to Resolve Any Remaining        in prior scheduling order
Discovery Disputes (or the then current                                      All filings with the Court
OGP process for resolving Discovery                                            due by April 8, 2022
Disputes).
Close of Fact Discovery.                           December 10, 2021               May 6, 2022
Deadline for WSOU to dismiss with Not specifically addressed                       May 6, 2022
prejudice three, if not more, additional cases. in prior scheduling order
Dismissals will be with each side to bear its
own costs and fees.

Of the at least six cases WSOU dismisses by
the close of fact discovery (at least three by
January 15, 2021 and at least three by May
6, 2022), at least one case dismissed must be
against VMware/Dell/EMC (i.e., case nos.
6:20-cv-480; 6:20-cv-481; 6:20-cv-485;
6:20-cv-486) and at least two cases
dismissed must be against Dell/EMC (i.e.,
Case Nos. 6:20-cv-473; 6:20-cv-474; 6:20-
cv-475; 6:20-cv-476; 6:20-cv-477; 6:20-cv-
478; 6:20-cv-479; 6:20-cv-482).
Opening Expert Reports.                              December 22, 2021            May 20, 2022
Rebuttal Expert Reports.                              January 26, 2022            June 17, 2022
Close of Expert Discovery.                           February 18, 2022             July 8, 2022
Deadline for the second of two meet and              February 18, 2022            July 15, 2022

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                     Event                             Original Deadline     New Deadline
confers to discuss narrowing the number of
specific claims asserted and specific prior art
references to be asserted to triable limits. To
the extent it helps the parties determine these
limits, the parties are encouraged to contact
the Court’s Law Clerk for an estimate of the
amount of trial time anticipated per side.
The parties shall file a Joint Report within 5
business days regarding the results of the
meet and confer.
Dispositive motion deadline and Daubert                February 25, 2022      July 22, 2022
motion deadline.
Serve Pretrial Disclosures (jury instructions,          March 11, 2022        July 29, 2022
exhibit lists, witness lists, discovery and
deposition designations).
Serve         objections        to      pretrial        March 25, 2022       August 5, 2022
disclosures/rebuttal disclosures.
Serve objections to rebuttal disclosures and             April 1, 2022      August 12, 2022
file motions in limine.
File Joint Pretrial Order and Pretrial                   April 8, 2022      August 19, 2022
Submissions (jury instructions, exhibit lists,
witness lists, discovery and deposition
designations); file oppositions to motions in
limine.
File Notice of Request for Daily                         April 15, 2022     August 26, 2022
Transcript or Real Time Reporting. If
a daily transcript or real time reporting
of court proceedings is requested for
trial, the party or parties making said
request shall file a notice with the
Court and e-mail the Court Reporter,
Kristie Davis at
kmdaviscsr@yahoo.com.

Deadline to meet and confer regarding
remaining objections and disputes on
motions in limine.
File joint notice identifying remaining           April 19, 2022           September 9, 2022
objections to pretrial disclosures and
disputes on motion in limine.
(Proposed) First Final Pretrial Conference.       April 22, 2022           September 23, 2022
                               st
(Proposed) Jury Selection / 1 Trial.               May 2, 2022              October 3, 2022
(Proposed) Second Final Pretrial Conference Not specifically addressed     November 28, 2022
                                            in prior scheduling order
(Proposed) Jury Selection / 2nd Trial.      Not specifically addressed     December 5, 2022

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                Event                    Original Deadline        New Deadline
                                      in prior scheduling order

Dated: November 29, 2021




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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this filing via the Court’s CM/ECF system per Local

Rule CV-5(a) on November 29, 2021.

                                                           /s/ James L. Etheridge
                                                            James L. Etheridge




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